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 From:          Dorfman, Victoria (Detailee)
 To:            Paoletta, Mark (CFPB); Shapiro, Daniel (CFPB)
 Subject:       Statutorily-required units // brief history
 Date:          Sunday, April 13, 2025 4:05:25 PM



 Mark/Daniel,

 I forwarded you two emails from Adam. As I mentioned to Mark on the call just now,
 supervision and enforcement used to be a part of SEFL. Then, FL (fair lending) got split
 up and moved to the front office, and last year enforcement and supervision were made
 separate as well. Unlike in many other agencies, and as we know, attorneys in
 supervision and enforcement do not report to the GC in the CFPB.

 As to the organic statute (https://www.law.cornell.edu/uscode/text/12/5493), the units
 it names are: Research, Community Affairs, Collecting and Tracking Complaints, Office
 of Fair Lending and Equal Opportunity, Office of Financial Education, Office of Service
 Member Affairs, Office of Financial Protection for Older Americans.



 (b)SPECIFIC FUNCTIONAL UNITS
 (1)RESEARCHThe Director shall establish a unit whose functions shall include
 researching, analyzing, and reporting on—
 (A)
 developments in markets for consumer financial products or
 services, including market areas of alternative consumer financial products or
 services with high growth rates and areas of risk to consumers;
 (B)
 access to fair and affordable credit for traditionally underserved communities;
 (C)
 consumer awareness, understanding, and use of disclosures and
 communications regarding consumer financial products or services;
 (D)
 consumer awareness and understanding of costs, risks, and benefits
 of consumer financial products or services;
 (E)
 consumer behavior with respect to consumer financial products or
 services, including performance on mortgage loans; and
 (F)
 experiences of traditionally underserved consumers, including un-banked and
 under-banked consumers.
 (2)COMMUNITY AFFAIRS
 The Director shall establish a unit whose functions shall include providing
 information, guidance, and technical assistance regarding the offering and
 provision of consumer financial products or services to traditionally
 underserved consumers and communities.


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 (3)COLLECTING AND TRACKING COMPLAINTS
 (A)In general
 The Director shall establish a unit whose functions shall include establishing a
 single, toll-free telephone number, a website, and a database or utilizing an
 existing database to facilitate the centralized collection of, monitoring of, and
 response to consumer complaints regarding consumer financial products or
 services. The Director shall coordinate with the Federal Trade Commission or
 other Federal agencies to route complaints to such agencies, where appropriate.
 (B)Routing calls to StatesTo the extent practicable, State agencies may receive
 appropriate complaints from the systems established under subparagraph (A), if
 —
 (i)
 the State agency system has the functional capacity to receive calls or electronic
 reports routed by the Bureau systems;
 (ii)
 the State agency has satisfied any conditions of participation in the system that
 the Bureau may establish, including treatment of personally identifiable
 information and sharing of information on complaint resolution or related
 compliance procedures and resources; and
 (iii)
 participation by the State agency includes measures necessary to provide for
 protection of personally identifiable information that conform to the standards
 for protection of the confidentiality of personally identifiable information and for
 data integrity and security that apply to the Federal agencies described in
 subparagraph (D).
 (C)Reports to the Congress
 The Director shall present an annual report to Congress not later than March 31
 of each year on the complaints received by the Bureau in the prior year
 regarding consumer financial products and services. Such report shall include
 information and analysis about complaint numbers, complaint types, and, where
 applicable, information about resolution of complaints.
 (D)Data sharing required
 To facilitate preparation of the reports required under subparagraph (C),
 supervision and enforcement activities, and monitoring of the market
 for consumer financial products and services, the Bureau shall
 share consumer complaint information with prudential regulators, the Federal
 Trade Commission, other Federal agencies, and State agencies, subject to the
 standards applicable to Federal agencies for protection of the confidentiality of
 personally identifiable information and for data security and integrity.
 The prudential regulators, the Federal Trade Commission, and other Federal
 agencies shall share data relating to consumer complaints
 regarding consumer financial products and services with the Bureau, subject to
 the standards applicable to Federal agencies for protection of confidentiality of
 personally identifiable information and for data security and integrity.
 (c)OFFICE OF FAIR LENDING AND EQUAL OPPORTUNITY
 (1)

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    ESTABLISHMENT
 The Director shall establish within the Bureau the Office of Fair Lending and
 Equal Opportunity.
 (2)FUNCTIONSThe Office of Fair Lending and Equal Opportunity shall have such
 powers and duties as the Director may delegate to the Office, including—
 (A)
 providing oversight and enforcement of Federal laws intended to ensure the fair,
 equitable, and nondiscriminatory access to credit for both individuals and
 communities that are enforced by the Bureau, including the Equal Credit
 Opportunity Act [15 U.S.C. 1691 et seq.] and the Home Mortgage Disclosure Act
 [12 U.S.C. 2801 et seq.];
 (B)
 coordinating fair lending efforts of the Bureau with other Federal agencies
 and State regulators, as appropriate, to promote consistent, efficient, and
 effective enforcement of Federal fair lending laws;
 (C)
 working with private industry, fair lending, civil rights, consumer and community
 advocates on the promotion of fair lending compliance and education; and
 (D)
 providing annual reports to Congress on the efforts of the Bureau to fulfill its fair
 lending mandate.
 (3)ADMINISTRATION OF OFFICEThere is established the position of
 Assistant Director of the Bureau for Fair Lending and Equal Opportunity, who—
 (A)
 shall be appointed by the Director; and
 (B)
 shall carry out such duties as the Director may delegate to such
 Assistant Director.
 (d)OFFICE OF FINANCIAL EDUCATION
 (1)ESTABLISHMENT
 The Director shall establish an Office of Financial Education, which shall be
 responsible for developing and implementing initiatives intended to educate and
 empower consumers to make better informed financial decisions.
 (2)OTHER DUTIESThe Office of Financial Education shall develop and implement a
 strategy to improve the financial literacy of consumers that includes measurable
 goals and objectives, in consultation with the Financial Literacy and
 Education Commission, consistent with the National Strategy for Financial
 Literacy, through activities including providing opportunities for consumers to
 access—
 (A)
 financial counseling, including community-based financial counseling, where
 practicable;
 (B)
 information to assist with the evaluation of credit products and the
 understanding of credit histories and scores;
 (C)


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savings, borrowing, and other services found at mainstream financial institutions;
(D)activities intended to—
(i)
prepare the consumer for educational expenses and the submission of financial
aid applications, and other major purchases;
(ii)
reduce debt; and
(iii)
improve the financial situation of the consumer;
(E)
assistance in developing long-term savings strategies; and
(F)
wealth building and financial services during the preparation process to claim
earned income tax credits and Federal benefits.
(3)COORDINATIONThe Office of Financial Education shall coordinate with other
units within the Bureau in carrying out its functions, including—
(A)
working with the Community Affairs Office to implement the strategy to improve
financial literacy of consumers; and
(B)
working with the research unit established by the Director to conduct research
related to consumer financial education and counseling.
(4)REPORTNot later than 24 months after the designated transfer date, and
annually thereafter, the Director shall submit a report on its financial literacy
activities and strategy to improve financial literacy of consumers to—
(A)
the Committee on Banking, Housing, and Urban Affairs of the Senate; and
(B)
the Committee on Financial Services of the House of Representatives.
(5), (6) OMITTED
(7)STUDY AND REPORT ON FINANCIAL LITERACY PROGRAM
(A)In generalThe Comptroller General of the United States shall conduct a study
to identify—
(i)the feasibility of certification of persons providing the programs or performing
the activities described in paragraph (2), including recognizing outstanding
programs, and developing guidelines and resources for community-based
practitioners, including—
(I)
a potential certification process and standards for certification;
(II)
appropriate certifying entities;
(III)
resources required for funding such a process; and
(IV)
a cost-benefit analysis of such certification;
(ii)
technological resources intended to collect, analyze, evaluate, or promote


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financial literacy and counseling programs;
(iii)
effective methods, tools, and strategies intended to educate and
empower consumers about personal finance management; and
(iv)
recommendations intended to encourage the development of programs that
effectively improve financial education outcomes and empower consumers to
make better informed financial decisions based on findings.
(B)Report
Not later than 1 year after July 21, 2010, the Comptroller General of the
United States shall submit a report on the results of the study conducted under
this paragraph to the Committee on Banking, Housing, and Urban Affairs of
the Senate and the Committee on Financial Services of the House of
Representatives.
(e)OFFICE OF SERVICE MEMBER AFFAIRS
(1)IN GENERALThe Director shall establish an Office of Service Member Affairs,
which shall be responsible for developing and implementing initiatives for service
members and their families intended to—
(A)
educate and empower service members and their families to make better
informed decisions regarding consumer financial products and services;
(B)
coordinate with the unit of the Bureau established under subsection (b)(3), in
order to monitor complaints by service members and their families and
responses to those complaints by the Bureau or other appropriate Federal
or State agency; and
(C)
coordinate efforts among Federal and State agencies, as appropriate,
regarding consumer protection measures relating to consumer financial products
and services offered to, or used by, service members and their families.
(2)COORDINATION
(A)Regional services
The Director is authorized to assign employees of the Bureau as may be deemed
necessary to conduct the business of the Office of Service
Member Affairs, including by establishing and maintaining the functions of
the Office in regional offices of the Bureau located near military bases, military
treatment facilities, or other similar military facilities.
(B)Agreements
The Director is authorized to enter into memoranda of understanding and similar
agreements with the Department of Defense, including any branch or agency as
authorized by the department, in order to carry out the business of
the Office of Service Member Affairs.
(3)DEFINITION
As used in this subsection, the term “service member” means any member of the
United States Armed Forces and any member of the National Guard or Reserves.


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(f)TIMING
The Office of Fair Lending and Equal Opportunity, the Office of Financial
Education, and the Office of Service Member Affairs shall each be established not
later than 1 year after the designated transfer date.
(g)OFFICE OF FINANCIAL PROTECTION FOR OLDER AMERICANS
(1)ESTABLISHMENT
Before the end of the 180-day period beginning on the designated transfer date,
the Director shall establish the Office of Financial Protection for Older Americans,
the functions of which shall include activities designed to facilitate the financial
literacy of individuals who have attained the age of 62 years or more (in this
subsection, referred to as “seniors”) on protection from unfair, deceptive, and
abusive practices and on current and future financial choices, including through
the dissemination of materials to seniors on such topics.
(2)ASSISTANT DIRECTOR
The Office of Financial Protection for Older Americans (in this subsection referred
to as the “Office”) shall be headed by an assistant director.
(3)DUTIESThe Office shall—
(A)develop goals for programs that provide seniors financial literacy and
counseling, including programs that—
(i)
help seniors recognize warning signs of unfair, deceptive, or abusive practices,
protect themselves from such practices;
(ii)
provide one-on-one financial counseling on issues including long-term savings
and later-life economic security; and
(iii)
provide personal consumer credit advocacy to respond to consumer problems
caused by unfair, deceptive, or abusive practices;
(B)
monitor certifications or designations of financial advisors who advise seniors
and alert the Commission and State regulators of certifications or designations
that are identified as unfair, deceptive, or abusive;
(C)not later than 18 months after the date of the establishment of the Office,
submit to Congress and the Commission any legislative and regulatory
recommendations on the best practices for—
(i)
disseminating information regarding the legitimacy of certifications of financial
advisers who advise seniors;
(ii)
methods in which a senior can identify the financial advisor most appropriate for
the senior’s needs; and
(iii)
methods in which a senior can verify a financial advisor’s credentials;
(D)conduct research to identify best practices and effective methods, tools,
technology and strategies to educate and counsel seniors about personal finance
management with a focus on—

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 (i)
 protecting themselves from unfair, deceptive, and abusive practices;
 (ii)
 long-term savings; and
 (iii)
 planning for retirement and long-term care;
 (E)
 coordinate consumer protection efforts of seniors with other Federal agencies
 and State regulators, as appropriate, to promote consistent, effective, and
 efficient enforcement; and
 (F)
 work with community organizations, non-profit organizations, and other entities
 that are involved with educating or assisting seniors (including the National
 Education and Resource Center on Women and Retirement Planning).
 (h)APPLICATION OF CHAPTER 10 OF TITLE 5
 Notwithstanding any provision of chapter 10 of title 5, such chapter shall apply to
 each advisory committee of the Bureau and each subcommittee of such an
 advisory committee.




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